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Braden
United States District Court
for the District of New Jersey
ROBERT BRADEN, : DOCKET NO. 14-4215-RMB-JS
: JUDGMENT NO. CV-004215~2014
Plaintiff, :
Vv. : WARRANT TO SATISFY

JUDGMENT
LOCKHEED MARTIN CORPORATION,

Defendant.

 

TO: The Clerk of the United States District Court of New Jersey
and, if necessary, the Clerk of the Superior Court of New
Jersey

WHEREAS, judgment was obtained in the United States District
Court for the District of New Jersey by Robert Braden, against
the Lockheed Martin Corporation, in the United States District
Court for the District of New Jersey, for an aggregate sum of
$51,564,212.00 in the above entitled matter; which judgment is
duly recorded or docketed in the United States District Court
(and if applicable, the New Jersey Superior Court) under Docket
Number CV-004215-2014; and

WHEREAS, the said plaintiff has received satisfaction for the
same, and this action has been dismissed by stipulation of the
parties thereto filed with the Court, and therefore, you are
hereby directed and authorized to enter this acknowledgment of
satisfaction on the record of the said judgment, and for your
doing so shall be your sufficient warrant and discharge in that
behalf.

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CONSOLE MATTIACCI LAW, LLC
Attorneys for Plaintiff

Dated: wolauls By: SZ

CERTIFICATION

 

I certify that the foregoing statements made by me are true.
I am aware that if any of the foregoing statements made by me
are willfully false, I am subject to punishment.

CONSOLE MATTIACCI LAW, LLC
Attorneys for Plaintiff

 

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